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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO

In re:                                                   PROMESA

THE FINANCIAL OVERSIGHT AND                              Title III
MANAGEMENT BOARD FOR PUERTO
RICO,                                                    No. 17-bk-3283-LTS

          as representative of                           (Jointly Administered)

THE COMMONWEALTH OF PUERTO
RICO, et al.,

                         Debtors.1

                            CERTIFICATION OF ANDREW WOLFE

          I, Andrew Wolfe, hereby certify:

          1.      I am a macroeconomic consultant to the Financial Oversight and Management

    Board for Puerto Rico, as representative of the Debtors in these Title III cases, and submit this

    certification in support of my second interim fee application, covering the compensation period

    October 1, 2017 through January 31, 2018.

          2.      Pursuant to Local Rule 2016-1, I certify that:

                  (a)    I have read the application;

                  (b)    to the best of my knowledge, information and belief formed after

reasonable inquiry, the fees and disbursements sought therein conform with the Bankruptcy

Code, the Federal Rules of Bankruptcy Procedure, the United States Trustee Guidelines, and the

Local Rules; and


1
  The Debtors in these Title III Cases, along with the last four digits of their respective Federal Tax ID
number, are: (i) Commonwealth of Puerto Rico (3481); (ii) Puerto Rico Sales Tax Financing Corporation
(8474); (iii) Puerto Rico Highways and Transportation Authority (3808); (iv) Employees Retirement
System of the Government of the Commonwealth of Puerto Rico (9686); and (v) Puerto Rico Electric
Power Authority (3747).
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                           Exhibit 4 Page 2 of 2



              (c)     the compensation and disbursements sought are billed at rates no less

favorable than those customarily employed by me.

       3.     Pursuant to Rule 2016(a), no agreement or understanding exists between me and

any other person for sharing compensation to be received in connection with this engagement,

except as authorized by the Bankruptcy Code or Rules.

       I certify under penalty of perjury that the foregoing is true and correct.

Executed on March 16, 2018.

                                                      /s/ Andrew Wolfe
